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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                       Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to All Cases          Judge M. Casey Rodgers
                                            Magistrate Judge Gary R. Jones


                                     ORDER

      Consistent with the Court’s prior Orders on the matter, see ECF Nos. 3416 &

3424, the MDL mediation is scheduled for September 15-16, 2022 at the United

States District Court, One North Palafox Street, Pensacola, Florida. All designated

parties, see ECF No. 3424, must personally attend and negotiate in good faith.

      SO ORDERED, on this 6th day of September, 2022.


                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
